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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


UNITED STATES OF AMERICA,
               Plaintiff,
                                                            CASE NO: 4:22-MJ-11-KPJ
        vs.

ELMER STEWART RHODES, III,
              Defendant.


                         MEMORANDUM OPINION AND ORDER
                           OF DETENTION PENDING TRIAL

       Defendant Elmer Stewart Rhodes, III (“Defendant”) is charged with violating 18 U.S.C. §

2384 (Seditious Conspiracy); 18 U.S.C. § 1512(k) (Conspiracy to Obstruct an Official

Proceeding); 18 U.S.C. § 1512(c)(2) (Obstruction of an Official Proceeding and Aiding and

Abetting); 18 U.S.C. § 372 (Conspiracy to Prevent an Officer from Discharging any Duties); and

18 U.S.C. § 1512(c)(1) (Tampering with Documents or Proceedings). The United States moved to

detain Defendant pending trial pursuant to 18 U.S.C. §§ 3142(f)(1) and 3142(f)(2). Upon

consideration, the Court finds Defendant must be DETAINED.

                                 I.    LEGAL STANDARD

       “The Bail Reform Act provides that a person shall be released pending trial unless a judge

finds that ‘no condition or combination of conditions will reasonably assure the appearance of the

person as required and the safety of any other person and the community.’” United States v.

Villaurrutia, 850 F. App’x 330, 331 (5th Cir. 2021) (per curiam) (quoting 18 U.S.C. § 3142(e)).

Only criminal defendants whose charged offenses involve one or more of the following

circumstances may be detained pending trial:




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          a crime of violence, a violation of section 1591, or an offense listed in section
           2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or
           more is prescribed;
          an offense for which the maximum sentence is life imprisonment or death;
          an offense for which a maximum term of imprisonment of ten years or more is
           prescribed in the Controlled Substances Act (21 U.S.C. § 801 et seq.), the
           Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.), or
           chapter 705 of title 46;
          any felony if such person has been convicted of two or more offenses described
           in subparagraphs (A) through (C) of this paragraph, or two or more state or local
           offenses that would have been offenses described in subparagraphs (A) through
           (C) of this paragraph if a circumstance giving rise to federal jurisdiction had
           existed, or a combination of such offenses;
          any felony that is not otherwise a crime of violence that involves a minor victim
           or that involves the possession or use of a firearm or destructive, or any other
           dangerous weapon, or involves a failure to register under 18 U.S.C. § 2250;
          any offense if there is a serious risk that such person will flee; or
          any offense if there is a serious risk that such person will obstruct or attempt to
           obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure,
           or intimidate, a prospective witness or juror.

18 U.S.C. § 3142(f). In such cases, the Court considers the following factors to determine whether

conditions exist that would justify pretrial release:

          the nature and circumstances of the offense charged;
          the weight of the evidence against the person;
          the history and characteristics of the person, including:
           o the person's character, physical and mental condition, family ties,
               employment, financial resources, length of residence in the community,
               community ties, past conduct, history relating to drug or alcohol abuse,
               criminal history, and record concerning appearance at court proceedings;
               and
           o whether, at the time of the current offense or arrest, the person was on
               probation, on parole, or on other release pending trial, sentencing, appeal,
               or completion of sentence for an offense under federal, state, or local law;
               and
          the nature and seriousness of the danger to any person or the community that
           would be posed by the person's release.

18 U.S.C. § 3142(g). If, based on the foregoing factors, the Court finds there are no conditions that

would “reasonably assure the appearance of the person as required and the safety of any other

person and the community,” the defendant must be detained pending trial. 18 U.S.C. § 3142(e).



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                              II.     PRETRIAL SERVICES REPORT 1

         Defendant is the founder of Oath Keepers, which purports to be “a non-profit organization

comprised of firefighters, military police, and first responders who defend the Constitution.” 2

Defendant has been employed by the Oath Keepers since its founding in 2010. Defendant is a

graduate of Yale Law School, but was disbarred in 2007. Defendant served in the United States

Army from 1983 until he was honorably discharged in 1986.

         Defendant has a father in Arizona, with whom he has no contact, and two sisters with whom

Defendant remains close. Both sisters reside in Minnesota. Defendant’s mother is deceased.

Defendant has been married to Tasha Adams since 1996, but is currently estranged from his wife.

Ms. Adams filed for divorce in 2018, and the divorce proceeding remains pending. Ms. Adams

resides in Montana with the couple's six children. Defendant reports he has telephone contact with

his children “every couple of months.” Defendant reports that he is currently in a relationship

with Kellye SoRelle. According to Pretrial Services, numerous attempts to contact Ms.

SoRelle for verification purposes were unsuccessful.

         Defendant reports he has resided in Granbury, Texas, with Ms. SoRelle since May 2020.

Defendant and Ms. SoRelle reside in an apartment leased by Ms. SoRelle. Defendant also reports

that he spends “a considerable amount of time” at a friend’s home in Little Elm, Texas. Previously,

Defendant resided in Kalispell, Montana (2010–2019), “between Las Vegas, Nevada, and

Montana” (2005–2010), Arizona (2004–2005), Connecticut (2001–2004), and spent the

“remainder of his life” in Las Vegas, Nevada.




1
 A Pretrial Services Report is a concise summary and conclusion of the pretrial investigation pertaining to the
pretrial release of the criminal defendant. See 18 U.S.C. § 3154.
2
 The information in this section was provided by Defendant in an interview with Pretrial Services. Pretrial Services
was able to verify some, but not all, of the information with a third party.

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       Defendant has no reported criminal history. Additionally, Defendant reports that he has not

filed “federal income tax” since approximately 2007.

                              III.    DETENTION HEARING

       The Court held a detention hearing on January 24, 2022 (the “Hearing”). The United States

was represented by Assistant United States Attorneys Kathryn Rakoczy and Justin Sher. Defendant

was represented by James Lee Bright and Philip Linder. Prior to the Hearing, the Government filed

a Memorandum in Support of Motion for Detention (the “Government’s Brief”) (Dkt. 12).

Defendant did not file a response. The Court has read and considered the arguments and authorities

in the Government’s Brief and would have equally considered a response if one had been filed.

The Government’s Brief contains references to evidence that was not presented during the

Hearing.

       A. Government’s Evidence

       Special Agent Michael Palian (“Agent Palian”) of the Federal Bureau of Investigation

(“FBI”) testified regarding the details of the alleged offenses and the investigation that culminated

in Defendant’s indictment and subsequent arrest.

       In November 2020, shortly after the presidential election, Defendant, as leader of the Oath

Keepers, began planning to prevent and/or disrupt the peaceful transition of presidential power.

According to Agent Palian, from November 2020 to January 2021, Defendant planned, offered to

fund, recruited for, and executed a raid on the United States Capitol. Members of the Oath Keepers,

under Defendant’s direction, stormed and entered the United States Capitol on January 6, 2021,

while Congress convened to certify the results of the 2020 presidential election (the “Raid”). Such

members adorned tactical gear, including, but not limited to, helmets, hard knuckle gloves, and

goggles. Some members carried non-lethal weapons. At least one member assaulted a law



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enforcement officer. In addition, Defendant organized armed tactical support teams of other Oath

Keepers that were staged in the D.C. area to provide armed support to the Raid on his orders.

         The Oath Keepers aimed to prevent certification of the 2020 presidential election results

by Congress. Federal agents recovered encrypted messages sent by and between Defendant and

his co-conspirators, some of whom are co-defendants in this action, wherein Defendant discussed:

(a) the need to intimidate Congress and/or incite violence to prevent the constitutional transfer of

power resulting from the election; and (b) plans for executing an armed assault on the federal

government. For example, on November 7, 2020, Defendant sent the following message to co-

conspirators:

         I am in direct context [sic] with the Serbian author of that video. 3

         His videos are excellent.

         Here is his written advice to us:

         “What we have done, and what you probably need to do:
           - Peaceful protests, good, well played round 1
           - A complete civil disobedience, they are not your representatives.
               They are FOREIGN puppet government.
           - Connect with the local police and start organize by neighborhoods
               to stay safe (we didn’t need this step)
           - We swarmed the streets and started confronting the opponents. I
               know, not nice, but it must be done if the institutions stop to exist.
           - Millions gathered in our capital. There were no barricades strong
               enough to stop them, nor the police determined enough to stop them.
           - Police and military aligned with the people after few hours of fist-
               fight
           - We stormed the Parliament
           - And burned down fake state Television!
               WE WON!

         However, we made a mistake. We have not removed ALL of his people from their
         positions. That was the only mistake.

         They are going to fight to the end, you must do the same.

3
 Agent Palian testified the message refers to a Serbian video that describes steps taken by Serbian citizens after the
election of Slobodan Milosevic.

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       Take that glorious flag from the chest. That old flag your ancestors flew while
       fighting for liberty. Kiss your old Garand, and your Bible.

       Do what you need to do.
       You have it in your genes.
       Make your grand-parents proud, and make your future grandsons proud.
       GOD BLESS AMERICA!”

See Gov’t Ex. 1. In December 2020, Defendant partook in the following exchange:

     Co-Defendant     “We need to surround the Capitol all the way around with Patriots
                      screaming so they hear us inside !
                      Scare the hell out of them with about a million surrounding them
                      should do the trick !”

     Defendant        “I think Congress will screw him over. The only chance we/he has is if
                      we scare the shit out of them and convince them it will be torches and
                      pitchforks time is [sic] they don’t do the right thing.

                      But I don’t think they will listen.”

See Gov’t Ex. 2 (emphasis added).

       In multiple other text messages, Defendant likened the Oath Keepers to early American

patriots by comparing the Oath Keepers to the Sons of Liberty and analogizing the post-election

socio-political climate to that which preceded the American Revolution. In fact, Agent Palian

testified Defendant regularly used the terms “civil war” and “revolution” to describe the Oath

Keepers’ objectives. In at least one instance, Defendant is alleged to have described the impending

“civil war” he was advocating for as having the potential to be massively bloody.

       Evidence gathered during the federal investigation indicates the Oath Keepers—under

Defendant’s leadership—engaged in extensive planning and coordination prior to the Raid.

Defendant personally coordinated with Oath Keepers chapter leaders—including the leaders of the

Florida and Alabama chapters—to maximize participation in the Raid. In so doing, Defendant

utilized encrypted chats and video conferencing software to maintain confidentiality and avoid



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detection. Further, Agent Palian testified Defendant recruited individuals to participate in the Raid

and, by posting a call to action on the Oath Keeper’s website, encouraged Oath Keepers across the

country to oppose the peaceful transition of presidential power. Defendant volunteered to pay for

hotel rooms, maps, and communications devices for those willing to participate in the Raid.

       Defendant also formed and orchestrated what he termed a Quick Reaction Force (“QRF”)

in support of the Raid. According to Agent Palian, the QRF was comprised of individuals who,

when the Raid occurred, were stationed in a Comfort Inn across the Potomac River in Virginia.

The QRF, equipped with an extensive arsenal of weaponry brought to the area by Oath Keepers

from across the country (including Defendant), was directed to remain in Virginia and join and

support/escalate the Raid upon Defendant’s orders. In addition to creating, structuring, and

providing strategic direction for the QRF, Agent Palian testified that Defendant also contributed

firearms, parts, and accessories to its arsenal. Specifically, while en route from his home in Texas

to Washington, D.C., Defendant purchased over $20,000.00 worth of firearms, firearms-related

accessories, and ammunition for use in this operation.

       During the Raid, evidence shows Defendant provided coordinating directives to various

Oath Keepers members, including instructions to navigate the Capitol grounds. For example,

Defendant engaged in the following exchange:

             Co-Defendant         “We are going to be on the main area Ellipse and would
                                  like to have everyone decked out ?”

               Defendant          “Call me please”

               Defendant          “CALL ME”

               Defendant          “Go to SOUTH side of US Capitol”

               Defendant          “That’s where I am going. To link up with [the
                                  operations leader].”



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See Gov’t Ex. 5. And while Defendant never himself entered the Capitol Building, Defendant was

present on the Capitol grounds, coordinated the activities of those Oath Keepers who did enter the

Capital Building, staged the QRF, and met with his co-conspirators shortly after they retreated

from the Capitol Building. Immediately after the Raid, Defendant and other Oath Keepers leaders

met for dinner at a nearby Olive Garden. While dining at Olive Garden, the group learned that law

enforcement officers had begun arresting individuals involved in the Raid. Agent Palian testified

that upon learning this information, Defendant and the group absconded from Virginia, presumably

to avoid detection and arrest.

         In the weeks that followed, Defendant continued to characterize the current presidential

administration as an “illegitimate regime” and encourage violent opposition thereto. Agent Palian

testified Defendant went so far as to state that those fit enough to move, shoot, and communicate

should be prepared to do so. At that time, Defendant convened in Texas multiple chapters of the

Oath Keepers and purchased an additional $17,000.00 worth of firearms, related parts and

equipment, and ammunition. A subsequent search of Defendant’s property resulted in the seizure

of numerous firearms and related parts and accessories.

         Agent Palian testified Defendant poses a risk of flight, highlighting Defendant’s limited

personal effects and ties to Texas or any other community. Consistent with the Pretrial Services

Report, Agent Palian testified that Defendant no longer resides with his family in Montana.

Defendant moved to Granbury, Texas, in mid-2020 and has been somewhat of a transient since,

living primarily as a house guest and without a permanent residence. Defendant’s mail is sent to a

post office box, and Defendant rents a storage unit in or near Granbury, Texas, for personal

property, including, but not limited to, firearms and related equipment. 4 Agent Palian opined that


4
  Agent Palian testified the FBI searched Defendant’s storage unit pursuant to a warrant and seized firearms and
related equipment.

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Defendant’s limited personal effects and lack of any sort of permanent residence would enable

Defendant to quickly flee federal authorities and avoid apprehension. Similarly, the Government

proffered Defendant’s ability to leverage his nationwide organizational and familial contacts to

covertly seek refuge.

       To rebut the Government’s contention that Defendant is a flight risk, the defense elicited

testimony showing that Defendant has cooperated with federal authorities. For example, in May

2021, Defendant complied with a federal warrant requiring Defendant to provide his cell phone,

pass code, and biometric data to federal agents. Agent Palian testified Defendant also volunteered

to self-surrender to federal authorities in Washington, D.C., if indicted. On the day of his arrest,

Defendant met the arresting officers outside the house where he was residing at the time.

       However, Agent Palian further testified that Defendant has already attempted to obstruct

justice by destroying potential evidence in the underlying federal investigation. According to

Agent Palian, a forensic expert revealed that after Defendant learned that federal agents had begun

arresting individuals associated with the Raid, Defendant deleted potentially incriminating

messages pertaining to the Raid from his encrypted chats, and encouraged other co-conspirators to

do the same, because Defendant believed an FBI informant could access such messages.

       B. Defendant’s Proffer of Third-Party Custodians

       Defendant offered two willing third-party custodians, the first being Defendant’s friend,

Brian Bodine. Mr. Bodine testified he met Defendant in March or April 2020 outside of Shelley

Luther’s hair salon in Dallas, Texas. Mr. Bodine explained that he and Defendant were showing

support for Ms. Luther, whose salon had been temporarily closed by the city due to Covid-19. Mr.

Bodine testified that, presently, the pair see each other one to three times per month. Mr. Bodine

testified that he is not a member of the Oath Keepers, did not participate in the Raid, and was



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unaware of Defendant’s involvement in orchestrating the Raid until after the Raid occurred. Mr.

Bodine testified that he currently lives in a one-bedroom apartment, but is willing to move into a

two-bedroom apartment to accommodate Defendant’s stay. Mr. Bodine works evenings as a ride

share driver and political consultant and is, therefore, often not home in the evenings. Defendant’s

counsel proffered that Mr. Bodine has agreed to coordinate with others in the community who are

willing to help monitor Defendant’s compliance with any conditions of release imposed by the

Court.

           After the Court stated its finding on the record that Mr. Bodine was not an appropriate

third-party custodian in this matter, Defendant’s cousin, Benjamin, 5 testified as a willing third-

party custodian. Benjamin resides on a multi-acre lot in California with his wife and children.

Neither Benjamin nor his family members are members of the Oath Keepers, and none participated

in the Raid. Benjamin testified that he was unaware of Defendant’s involvement in the Raid until

after the Raid occurred. Benjamin’s in-laws, who are Defendant’s aunt and uncle, reside in a

separate house approximately 600 feet from Benjamin’s home. Benjamin testified that, if released,

Defendant could reside with Defendant’s aunt and uncle in the second home. According to

Benjamin, Defendant’s uncle would monitor Defendant while Benjamin is away at work each day.

Defendant’s aunt and uncle were not present at the hearing and did not offer testimony.

           Defendant also admitted several letters written in support of Defendant’s release. These

letters characterize Defendant as moral, honest, and non-violent. See Def. Ex. 1.

                                       IV.      TELEPHONIC HEARING

           Shortly after the Hearing, Defendant’s estranged wife, Tasha Adams, contacted the Court

and requested that she be permitted to offer information to the Court regarding the issue of



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    Benjamin requested not to reveal his last name to maintain confidentiality and preserve his privacy.

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detention. After conferring with counsel regarding same, on the afternoon of January 24, 2022,

the Court conducted a telephonic hearing (the “Telephonic Hearing”) with counsel for all

parties present and participating. Ms. Adams testified that she married Defendant in 1994, and

the couple share six children. Ms. Adams testified she filed for divorce in 2018 due to

Defendant’s violent tendencies; the divorce proceeding remains pending.

       Ms. Adams testified that she fears for her safety and the safety of her six children should

Defendant be released. Ms. Adams testified that throughout their marriage, Defendant would often

brandish firearms in the family home to control her behavior and that Defendant would physically

abuse his children under the guise of participating in “martial arts practice.” According to Ms.

Adams, Defendant would invite the children to practice martial arts when he was angry; Defendant

would then hit the children and claim it was accidental. On occasion, Ms. Adams claimed that

Defendant would “lose it.” Ms. Adams described one such instance where Defendant choked the

couple’s daughter; the couple’s adult son intervened to forcibly remove Defendant’s grip. Ms.

Adams testified that Defendant’s violence toward the family became more frequent in 2016 and

that her greatest fear was that Defendant would murder Ms. Adams and the children before

committing suicide.

       Ms. Adams admitted that she never filed a police report or reported the incidents to friends

or family. Ms. Adams testified she applied for a temporary restraining order in 2018 based on

Defendant’s violent tendencies, but it was denied. Ms. Adams is unsure if Defendant’s violent

behavior is noted in the divorce petition. Neither Ms. Adams nor the six children have seen

Defendant since 2018.

       Ms. Adams also testified to Defendant’s fear of being “picked up by the feds.” According

to Ms. Adams, during the time they were married, Defendant installed elaborate escape tunnels in



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the couple’s backyard, hid unregistered cars in the woods, and purchased hundreds of dollars of

razor wire, which Defendant intended to install around the perimeter of the property, concealed

from view, “in case the feds ever came to his door.”

                              V.    SECTION 3142(g) FACTORS

       The Court finds, based on the evidence presented, that the Government has: (a) proven by

clear and convincing evidence that no condition or combination of conditions of release will

reasonably assure the safety of any other person and the community; and (b) proven by a

preponderance of the evidence that no condition or combination of conditions of release will

reasonably assure the defendant’s appearance as required.

       A. The Nature and Circumstances of the Charged Offenses and the Weight of the
          Evidence

       The weight of the evidence against Defendant is strong and reveals Defendant’s

participation in a coordinated attack on government officials within the United States Capitol and

that Defendant put in place and controlled armed groups to support and/or further escalate the

planned attack. The Raid, as the evidence shows, was expected to be violent. Under Defendant’s

leadership, members of the Oath Keepers stormed the Capitol grounds and unlawfully entered the

Capitol Building wearing tactical gear, such as hard knuckles and helmets, and carrying non-lethal

weapons. At least one member of the Oath Keepers assaulted a federal law enforcement officer.

Although Defendant did not enter the Capitol Building, Defendant’s communications with co-

conspirators leading up to, during, and after the Raid (to plan, coordinate, and conduct the Raid),

along with Defendant’s presence on the Capitol grounds, displayed leadership during the Raid and

showed that Defendant encouraged and directed the actions of his co-conspirators.

       Further, the evidence shows Defendant planned for a much more violent attack on our

nation’s capital, both during the Raid and in the weeks that followed. Defendant created,

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organized, and funded the QRF, which the evidence shows was intended to provide militaristic

support to the Oath Keepers in Washington, D.C., on Defendant’s orders. Defendant purchased

upwards of $40,000.00 of firearms, ammunition, and firearms-related accessories, parts, and

equipment, half of which was used to help equip the QRF and perhaps other members of the Oath

Keepers. And Defendant repeatedly referred to the Oath Keepers’ actions both in the Raid and in

communications thereafter as inciting a revolution or civil war, which, according to those

communications, had the potential to be massively bloody.

       The evidence also shows Defendant rallied others to participate in the Raid and other future

activity. There is evidence that, a few days before the Raid, Defendant published a “call to action”

encouraging Oath Keepers across the country to convene in Washington, D.C., to forcefully disrupt

Congress’s certification of the 2020 election results. Defendant coordinated with Oath Keepers

chapter leaders across the country to encourage participation, develop strategy, and ensure

preparedness. After the Raid, Defendant continued to convene co-conspirators, encourage violent

governmental opposition, purchase additional firearms, ammunition, and accessories, and allude

to and advocate for forthcoming civil unrest and armed violence.

       Based on the evidence presented, the Court finds that both the nature and circumstances of

the charged offenses, along with the weight of the evidence to support such charges, favor

detention.

       B. Defendant’s History and Characteristics

       Defendant is a graduate of Yale Law School and has no prior criminal history. Although

these facts would typically weigh in favor of release, the Court questions Defendant’s willingness

to obey any Court-imposed conditions of supervised release. Defendant himself admits that he has

not “filed federal income tax” since 2007. Defendant is a former attorney (presently disbarred from



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practice) and is surely aware of the federal income tax filing requirements. Further, the evidence

indicates that Defendant planned, coordinated, funded, and executed a sophisticated attack on the

United States Government. As a former attorney, Defendant surely appreciated the gravity of his

actions and the risks involved therewith. Yet, Defendant did not relent. Instead, Defendant armed

and coordinated the QRF, provided direction to co-conspirators during the Raid, and continued to

advocate for violent governmental opposition in the weeks that followed. Further, although the

evidence shows Defendant has at least somewhat complied with the FBI’s investigation, the

evidence also shows that Defendant: (1) absconded from Virginia shortly after the Raid to avoid

detection and arrest; and (2) deleted evidence relating to the Raid and instructed others to do the

same. Defendant’s actions exhibit an extreme defiance to federal authority that raise doubt as to

Defendant’s ability and willingness to comply with conditions of release.

       Additionally, the evidence shows Defendant is transient and may easily flee from federal

authorities and avoid apprehension. Defendant does not have a permanent residence and has not

rooted himself in or created ties to any given community. Rather, the evidence shows Defendant

has substantial nation-wide contacts, many of whom are members of, or may be affiliated with,

the Oath Keepers. He has close family members and community contacts in localities across the

country, as set forth in the Pretrial Services Report and exemplified by character references

submitted as Defendant’s Exhibit 1. And Defendant is the leader of a nation-wide grassroots

organization that mobilized and acted in violence under Defendant’s leadership and direction.

Together, this evidence indicates the breadth of Defendant’s network and the ease with which

Defendant could covertly seek refuge from federal custody and avoid apprehension if released.

This factor weighs in favor of detention.




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       C. The Nature and Seriousness of the Danger Posed by Defendant’s Release

       It is not unusual for Americans to be disappointed by election results or offput by the

functioning of federal, state, or local governments. Indeed, the right for such individuals to

peaceably assemble and to petition the government for a redress of grievances is enshrined in the

Constitution and is core to American freedom and our system of governance. See U.S. CONST.

amend. I. Here, the Court is not faced with a peaceable assembly and petitioning, as Defendant’s

extraordinary actions and the ripple effects that followed are outside the bounds of protected

activities. The Court is likewise mindful that Defendant and his co-conspirators have a Second

Amendment right to purchase and possess firearms. See U.S. CONST. amend. II; District of

Columbia v. Heller, 554 U.S. 570, 592 (2008). That right must be honored in this analysis. Indeed,

the purchase and transport of weapons, even in large volumes, is a constitutionally protected

activity. However, here, it is not the mere purchase or transport of firearms that weighs in the

Court’s analysis. Rather it is the totality of the evidence showing Defendant’s leadership and

strategic involvement in and advocacy for armed and violent actions against the federal

government, combined with Defendant’s preparedness and ready access to weapons sufficient to

carry out such violent activities, that presents a significant risk of harm to others. Thus,

Defendant’s First and Second Amendment rights can be honored and protected while the Court

considers the applicable legal factors and reaches its conclusions as to pretrial detention in light of

the totality of the evidence presented.

       The evidence shows Defendant orchestrated a large-scale attack on the federal government

with the purpose of intimidating, by violence, federal officials and disrupting official governmental

proceedings incident to the transfer of power in the Executive Branch following a national election.

Defendant covertly organized the Raid remotely, using encrypted chats and other applications.



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Defendant created, staged, and controlled the QRF as a strategic force to escalate armed violence

in support of the Raid upon his request. Defendant concealed his activity from those close to him.

And, importantly, Defendant had the means to finance the Oath Keeper’s illicit activity by

contributing more than $40,000.00 to stock the Oath Keepers’ weapons arsenal and offering to

underwrite expenses for those willing to participate in the Raid.

       Defendant’s authoritative role in the conspiracy, access to substantial weaponry, and ability

to finance any future insurrection, combined with his continued advocacy for violence against the

federal government, gives rise to a credible threat that Defendant’s release might endanger others

by fostering the planning and execution of additional violent events. This is especially so given

Defendant’s technical savvy, military training, and familiarity with encrypted communication; it

is nearly impossible to effectively monitor communications made through encrypted messaging

and video conferencing applications, which Defendant is known to use. Finally, there is some

evidence of a propensity towards violence in Defendant’s personal relationships.

       On balance, the evidence in the record overall indicates Defendant’s release could endanger

the safety and wellbeing of others. This factor weighs in favor of detention.

                                          IV. CONCLUSION

       For the reasons stated herein, the Government’s Motion for detention is GRANTED.

Defendant shall be detained pending trial and, is thus, remanded to the custody of the Attorney

General or to the Attorney General’s designated representative for confinement in a corrections

facility separate, to the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal. Defendant must be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States, congressional




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    subpoena, 6 or on request of an attorney for the Government, the person in charge of the corrections

    facility must deliver Defendant to a United States Marshal for the purpose of an appearance in

    connection with a court proceeding.

              So ORDERED and SIGNED this 26th day of January, 2022.




                                                           ____________________________________
                                                           KIMBERLY C. PRIEST JOHNSON
                                                           UNITED STATES MAGISTRATE JUDGE




    6
     During the Hearing, Defendant represented he has been subpoenaed to testify before Congress in February 2022.
    Defendant shall be permitted to testify if required by congressional subpoena, court order, or as otherwise requested
    by an attorney for the United States Government.

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